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 1   BRYAN A. MERRYMAN (SBN 134357)
     bmerryman@whitecase.com
 2   KATHERINE GODAR (SBN 343096)
     katherine.godar@whitecase.com
 3   WHITE & CASE LLP
     555 S. Flower Street, Suite 2700
 4   Los Angeles, CA 90071-2433
     Telephone: (213) 620-7700
 5   Facsimile: (213) 452-2329
 6   BRIENNE M. LETOURNEAU (admitted pro hac vice)
     brienne.letourneau@whitecase.com
 7   WHITE & CASE LLP
     111 S. Wacker Dr., Suite 5100
 8   Chicago, IL 60606-4302
     Telephone: (312) 775-4808
 9
     Attorneys for Defendant
10   GERBER PRODUCTS COMPANY
11

12
                                        UNITED STATES DISTRICT COURT
13
                                   NORTHERN DISTRICT OF CALIFORNIA
14
                                           SAN FRANCISCO DIVISION
15

16
     TRACY HOWARD, ERI NOGUCHI, and                      Case No. 3:22-CV-04779-VC
17   SCOTT DIAS, on behalf of themselves and
     those similarly situated,                           DEFENDANT GERBER PRODUCTS
18                                                       COMPANY’S NOTICE OF MOTION
                          Plaintiffs,                    AND MOTION TO DISMISS
19                                                       PLAINTIFFS’ SECOND AMENDED
              v.                                         CLASS ACTION COMPLAINT; AND
20                                                       MEMORANDUM OF POINTS AND
     GERBER PRODUCTS COMPANY,                            AUTHORITIES
21
                          Defendant.                     Date: December 12, 2024
22                                                       Time: 10:00 a.m.
                                                         Courtroom: 4
23                                                       Judge: Hon. Vince Chhabria
24

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                                                                        GERBER’S MOTION TO DISMISS;
     AMERICAS 117949192                                                 Case No. 3:22-cv-04779-VC
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 2                             NOTICE OF MOTION AND MOTION TO DISMISS

 3            NOTICE IS HEREBY GIVEN that on December 12, 2024, at 10:00 a.m., or as soon

 4   thereafter as the Court is available, defendant Gerber Products Company (“Gerber”) will appear

 5   before the Honorable Vince Chhabria, Judge presiding, in Courtroom 4 of the United States District

 6   Court for the Northern District of California, located at 450 Golden Gate Avenue, San Francisco,

 7   California 94102, and will, and hereby does, move to dismiss the second amended complaint filed

 8   by plaintiffs Tracy Howard, Eri Noguchi, and Scott Dias (“Plaintiffs”), and each claim alleged

 9   therein, pursuant to Federal Rules of Civil Procedure 8, 9(b), 12(b)(1), and 12(b)(6).

10            Gerber brings this motion on the following grounds: (1) Plaintiffs fail to plausibly allege

11   harm from the claims on Gerber’s labels, as Plaintiffs’ allegations are speculative, hypothetical,

12   and rely on circumstances beyond the scope of this case; (2) Ninth Circuit precedent bars Plaintiffs’

13   theory that Gerber misrepresented the protein content of certain products; (3) Plaintiffs’ allegations

14   that reasonable consumers would be misled by the statements on Gerber’s labels are implausible

15   and unsubstantiated; (4) Plaintiffs’ claims under the UCL and the FAL fail because Plaintiffs have

16   an adequate remedy at law and lack standing to seek injunctive relief; (5) Plaintiffs’ claims alleging

17   the statements on Gerber’s products are unlawful are preempted, or, in the alternative, improperly

18   based on lawful label statements; (6) Plaintiffs allege the same theory of liability for their UCL

19   “unfair” prong and unjust enrichment claims, which fail to plausibly allege a reasonable consumer

20   is likely to be deceived by Gerber’s labels; and (7) Plaintiffs lack standing to bring claims based on

21   statements they did not see and products they did not purchase.

22            This motion is based on this notice of motion and motion, the memorandum of points and

23   authorities, the request for judicial notice, the pleadings and documents on file, and argument and

24   other matters as may be presented to the Court at the hearing.

25                              STATEMENT OF THE ISSUES TO BE DECIDED

26            1.          Federal Rule of Civil Procedure 9(b)’s Pleading Requirements.
27                        Because Plaintiffs’ claims sound in fraud, do they meet Rule 9(b)’s
                          heightened pleading standard where Plaintiffs do not allege with specificity
28                        that the challenged products have actually caused the alleged harms?



                                                                              GERBER’S MOTION TO DISMISS;
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              2.          Federal Rule of Civil Procedure 8’s Pleading Requirements. Do
 2                        Plaintiffs state a claim when they do not include allegations challenging the
 3                        primarily advertised ingredients or nutrients and, with respect to protein
                          claims, their theory that protein content is understated contravenes FDA
 4                        regulations?

 5            3.          UCL/FAL/CLRA. If Plaintiffs do not plausibly allege a reasonable
                          consumer would be misled by the statements on Gerber’s labels, do they
 6
                          state a claim under Cal. Bus. & Prof. Code §§ 17200 and 17500, or Cal.
 7                        Civ. Code § 1750? If Plaintiffs do not plausibly allege harm, do they state
                          a claim under Cal. Bus. & Prof. Code §§ 17200 and 17500, or Cal. Civ.
 8                        Code § 1750?

 9            4.          Availability of Adequate Legal Remedy. Do Plaintiffs sufficiently allege
                          they lack an adequate legal remedy, as required to pursue equitable relief,
10
                          where they base all of their theories of liability on the same factual
11                        allegations and they seek the same amount in damages and restitution?

12            5.          Standing For Injunctive Relief. Do Plaintiffs have standing to sue for
                          injunctive relief when they have not plausibly alleged a “certainly
13                        impending” injury?
14
              6.          Standing For Label Statements Not Relied Upon and Products Not
15                        Purchased. Do Plaintiffs have standing to assert claims based on label
                          statements they did not rely upon and products they did not purchase,
16                        particularly when the purchased products and non-purchased products are
                          not “substantially similar”?
17

18            7.          Unjust Enrichment. Is Plaintiffs’ unjust enrichment claim duplicative and
                          therefore barred when it is supported by the same misrepresentation theory
19                        underlying their statutory claims?

20
     Dated: October 8, 2024                                  WHITE & CASE LLP
21

22                                                           By:    /s/ Bryan A. Merryman
                                                                   Bryan A. Merryman
23
                                                             Attorneys for Defendant
24                                                           GERBER PRODUCTS COMPANY

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                                                                              GERBER’S MOTION TO DISMISS;
     AMERICAS 117949192                                                       Case No. 3:22-cv-04779-VC
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 1                        MEMORANDUM OF POINTS AND AUTHORITIES

 2            INTRODUCTION AND SUMMARY OF ARGUMENT

 3            The Ninth Circuit recently confirmed that to meet the “elevated pleading standards of” Rule

 4   9(b), Plaintiffs must support claims that Gerber allegedly “misled consumers into believing []

 5   products provided health benefits to children under two when the products were in fact nutritionally

 6   and developmentally harmful” with specific allegations that the products caused actual harm.

 7   Davidson v. Sprout Foods, Inc., 106 F.4th 842, 845, 852 (9th Cir. 2024). Conceding the fraud-

 8   based claims in their prior complaints fell short, Plaintiffs now attempt to save them with a Second

 9   Amended Complaint (“SAC”).           But the SAC merely offers more of the same generalized,

10   speculative theories the Ninth Circuit rejected as insufficiently specific and concrete, and therefore

11   the SAC lacks sufficient facts to create a plausible inference that Gerber’s products actually “cause

12   any of the [] harms” Plaintiffs allege. See id. at 853.

13            Plaintiffs now claim the statement “2g Plant Protein” on certain product labels also deceives

14   consumers because those products “only provide 1.3-1.4 grams of protein.” SAC ¶ 63. Essentially,

15   Plaintiffs allege Gerber should have used a different method of calculating protein content. But

16   FDA regulations expressly permit Gerber to quantify protein using the disputed method. Plaintiffs’

17   new theory thus is preempted, and otherwise fails to state a fraud claim.

18            Moreover, Plaintiffs do not, and cannot, allege a plausible nexus between the sugar and

19   sodium content they claim is harmful and the disputed label claims, which mention neither. The

20   same is true of purported developmental challenges caused by consumption of pouch purees, which

21   cannot reasonably be linked to statements about protein, fruits, vegetables, and grains. “Just

22   because a defendant truthfully advertises one of its product’s health benefits does not mean that it

23   has committed fraud or deceived consumers as to all other conceivable unhealthy consequences

24   that were not disclosed.” Sanchez v. Nurture, Inc., No. 5:21-CV-08566-EJD, 2023 WL 6391487,

25   at *7 (N.D. Cal. Sept. 29, 2023). A contrary standard would contravene California law by making

26   “almost any advertisement truthfully extolling a product’s attributes…fodder for litigation.” See

27   Shaeffer v. Califia Farms, LLC, 44 Cal. App. 5th 1125, 1139 (2020) (cleaned up).

28            Plaintiffs’ claims based on alleged technical violations of FDA labeling regulations fare no
                                                      -1-
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 1   better. To start, Plaintiffs’ UCL and FAL claims fail because they do not allege an inadequate legal

 2   remedy, which precludes equitable relief, and have not plausibly alleged they intend to purchase

 3   the products again, which deprives them of standing for injunctive relief. Plaintiffs’ “unlawful”

 4   prong claim also is preempted, and regardless, Plaintiffs may not base their claims on lawful label

 5   statements. Plaintiffs also lack standing to assert claims based on products they did not purchase,

 6   which bear largely different claims and advertised nutrients, or that lack protein statements.

 7            Because of these deficiencies, Plaintiffs’ claims should be dismissed with prejudice.

 8            FACTUAL BACKGROUND

 9            Gerber provides baby food products for infants and toddlers. The products sometimes bear

10   label claims indicating the presence of a particular nutrient or ingredient, like “2g Protein” or “Real

11   fruits & veggies.” Plaintiffs allege these claims are both misleading and violate an FDA regulation

12   governing the use of “nutrient content claims” on products “specifically intended for children under

13   two.” 21 C.F.R. § 101.13. Plaintiffs challenge label statements on a “non-exhaustive” list of 52

14   Gerber products (“Products”) (SAC ¶ 14, Ex. A). Yet, Plaintiffs allege they purchased only 19 of

15   those products (“Purchased Products”) (SAC ¶¶ 91 [sic], 75 [sic], 76 [sic]) and expressly relied on

16   only three label statements: “2g protein,” “2 grams of Plant Protein,” and “Nutritious, plant-based,

17   and specially designed to provide 2 grams of protein” on three Products. SAC ¶¶ 93, 99, 105.

18            Plaintiffs assert five causes of action: (1) violation of the Consumers Legal Remedies Act

19   (“CLRA”), Cal. Civ. Code §§ 1750 et seq.; (2) violation of the False Advertising Law (“FAL”),

20   Cal. Bus. & Prof. Code §§ 17500 et seq.; (3) violation of the Unfair Competition Law (“UCL”),

21   Cal. Bus. & Prof. Code §§ 17200 et seq.; (4) common law fraud; and (5) unjust enrichment.

22            PLAINTIFFS’ SECOND AMENDED COMPLAINT SHOULD BE DISMISSED

23            A.          Plaintiffs Fail to State a Fraud-Based Claim
24            A claim under the FAL, CLRA, UCL “fraudulent” prong, and for common law fraud
25   requires misrepresentations “likely to deceive a reasonable consumer,” Ebner v. Fresh, Inc., 818
26   F.3d 799, 806 (9th Cir. 2016), meaning they are misleading to “a significant portion of the general
27   consuming public…acting reasonably in the circumstances.” Lavie v. Proctor & Gamble Co., 105
28   Cal. App. 4th 496, 508 (2003) (emphasis added). Thus, Plaintiffs must plausibly allege: (1) the
                                                -2-
                                                                         GERBER’S MOTION TO DISMISS;
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 1   Products are “nutritionally and developmentally” harmful, and (2) claims on Gerber’s labels

 2   mislead reasonable consumers to believe the Products are healthy. Plaintiffs do neither.

 3                          Plaintiffs Fail to Allege the Products are Harmful

 4            Plaintiffs’ fraud-based claims allege nutritional statements on Gerber’s Products “mislead

 5   consumers into believing that the [P]roducts are healthy for children under two years of age,” when,

 6   according to Plaintiffs, the Products “are harmful both nutritionally and developmentally for

 7   children under two.” SAC ¶ 3. This theory fails because Plaintiffs do not plausibly allege harm.

 8            The Ninth Circuit recently held allegations based on “hypotheticals and contingencies

 9   outside the scope of th[e] case” cannot support a fraud claim, particularly where the plaintiffs do

10   not “actually allege[]” the “products caused” harm. Davidson, 106 F.4th at 853. The Davidson

11   plaintiffs—represented by the same Plaintiffs’ counsel—alleged in that case another baby food

12   company “misled consumers into believing” similar products “provided health benefits to children

13   under two” when “high amounts of sugar” in “pureed, pouch-based foods can lead to health issues

14   such as tooth decay” and impair development. Id. The Davidson plaintiffs based their claims on

15   “articles and reports,” and scant product-specific allegations. Id. Affirming dismissal, the Ninth

16   Circuit noted the plaintiffs’ allegations were “largely speculative” and lacked specific context. Id.

17            In this case, the fraud claims in Plaintiffs’ First Amended Complaint mirrored those the

18   Ninth Circuit rejected in Davidson. See ECF No. 61, at 3-4. Now, Plaintiffs attempt to avoid

19   Davidson’s effect with more generalized allegations from “articles and reports.” E.g., SAC ¶¶ 53-

20   55, 57, 59-60 (WHO Europe Region Nutrient and Promotion Profile Model); 51, 73 (New York

21   Times); 50 (American Journal of Clinical Nutrition); 59 (WHO Guideline 2015). Plaintiffs still

22   “rel[y] on hypotheticals and contingencies,” and still fail to allege the Products have caused actual

23   harm. See Davidson, 106 F.4th at 853. This is true of all three theories: the Products are harmful

24   because they (1) contain excess sugar, (2) contain excess sodium, and/or (3) are pouch purees.

25            Sugar theory. In Davidson, allegations that specific products “‘contain[ed] high amounts

26   of free sugars’ accompanied by a list of the grams of sugar” failed to state a claim, because the

27   plaintiffs did not “explain at what level sugars become harmful or why the levels of sugar in these

28   products, in particular, could cause harm.” Id. Plaintiffs attempt to plead around this by alleging
                                                    -3-
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 1   a “sugar density” of each product, which they describe as “the level at which the WHO recommends

 2   a front-of-pack ‘indicator label’ for products intended for infants and toddlers because of the health

 3   risks associated with that level of sugar.”1 SAC ¶ 60. Plaintiffs allege all Gerber products with a

 4   high “sugar density” pose the same “health risks”; i.e., they “will encourage a preference for

 5   sweeter foods,” which “contribute to noncommunicable diseases and obesity, contribute to dental

 6   decay, cause spikes in blood sugar, and can lead to picky eating.” Id. ¶¶ 60-64.

 7            These allegations do not cure the fundamental defects that doomed the Davidson plaintiffs’

 8   claims. Plaintiffs still fail to allege “at what level sugars become harmful or why the levels of sugar

 9   in these products, in particular, could cause harm.” See Davidson, 106 F.4th at 853 (emphasis

10   added). Alleging products “will encourage a preference for sweeter foods,” SAC ¶¶ 60-64, does

11   not infer they cause a preference. Regardless, Plaintiffs merely allege consuming “sweeter foods”

12   generally—not Gerber products specifically—can “contribute” or “lead” to the alleged harms. See

13   SAC ¶¶ 60-64. These theoretical harms also require many inferential leaps—e.g., the child

14   consumed enough Gerber products alone to “encourage a preference for sweeter foods,” the child

15   developed such a preference, and the preference caused the child to eat enough “sweeter foods” to

16   potentially cause health issues, which the child developed. See Davidson v. Sprout Foods Inc., No.

17   22-CV-01050-RS, 2022 WL 13801090, at *3 (N.D. Cal. Oct. 21, 2022), aff’d in part, rev’d in part

18   on other grounds, 106 F.4th 842 (“The California Court of Appeal has cautioned against permitting

19   food labeling claims that rely on inferential leaps….”) (citing Shaeffer, 44 Cal. App. 5th at 1139).

20   Thus, Plaintiffs still do not allege Gerber’s Products caused harm. See Davidson, 106 F.4th at 853.

21            Sodium theory. Plaintiffs’ new theory that certain Products contain excess sodium suffers

22   from the same flaws. Plaintiffs allege some Products exceed the “WHO recommend[ed] limits of

23   50 mg of sodium per 100g of food,” though Plaintiffs do not, and cannot, identify a comparable

24   FDA or USDA limit.2 SAC ¶ 77. Regardless, Plaintiffs’ allegations that products high in sodium

25   1
       If Plaintiffs seek to assert claims based on a failure to include “front-of-pack indicators,” such
26   claims would be expressly preempted because they would impose a requirement that is not identical
     to the requirements of the Nutrition Labeling and Education Act of 1990. Walker v. ConAgra
27   Foods, Inc., No. 15-CV-02424-JSW, 2016 WL 9087336, at *2-3 (N.D. Cal. Mar. 23, 2016).
     2
       USDA’s Daily Nutritional Goal for sodium is 370 mg/day for ages 6 through 11 months and 1,200
28   mg/day for ages 12 through 23 months. RJN Ex. 1.
                                                     -4-
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 1   generally may “damage the developing kidney[s],” “pre-dispose [children] to high blood pressure,”

 2   and “make [children] prefer salty food later in life,” SAC ¶¶ 76, 79-81, do not explain why the

 3   precise sodium level in each Product “could cause harm.” See Davidson, 106 F.4th at 853. Again,

 4   Plaintiffs do not allege anyone suffered alleged health impacts from the Products. See id.

 5            Pouch theory. Plaintiffs’ attempt to rescue claims based on the purportedly harmful texture

 6   and mechanics of pouch products fares no better. Plaintiffs’ allegations in the SAC largely track

 7   the deficient allegations in Davidson. Plaintiffs now allege “[t]he WHO cautions that pouches are

 8   not recommended” because they hinder feeding and motor skills development, may contain harmful

 9   sugars, and can lead to food waste. SAC ¶¶ 70, 72. “Not recommended” does not mean “harmful.”

10   The alleged harms also remain hypothetical because they require caretakers to make particular

11   decisions, such as feeding a child only pureed food via pouches for extended periods or failing to

12   balance a child’s diet. See Davidson, 106 F.4th at 853. Plaintiffs also do not allege what frequency

13   of consumption puts children at risk, or that any child in fact became “overly dependent” on

14   pouches, see id. ¶ 73, or otherwise suffered these theoretical harms.3

15            For these reasons, Plaintiffs’ allegations based on the allegedly harmful nature of Gerber’s

16   Products fail to state a fraud-based claim under the CLRA, FAL, UCL, or common law.

17                           Ninth Circuit Law Bars Plaintiffs’ Protein Quantity Theory

18            Controlling law precludes Plaintiffs’ new theory that Gerber misstated the protein content

19   of “Plant-tastic” products. FDA regulations allow protein content to be “calculated on the basis of

20   the factor 6.25 times the nitrogen content of the food” (“nitrogen method”). 21 C.F.R. § 101.9(7)(i).

21   For products “specifically for infants through 12 months or children 1 through 3 years of age,” a

22

23   3
       Plaintiffs’ vague allegation that “[s]ome professionals have noted delays in motor development
     among kids overly dependent on pouches,” SAC ¶ 73, does not satisfy Rule 9(b). See Davidson,
24
     106 F.4th at 853. Plaintiffs also mischaracterize the New York Times article they cite, which quotes
25   a single pediatric speech-language therapist speculating that “reliance on pouches is part of the
     reason” that “some of their toddler clients were learning to self-feed with a spoon later than usual.”
26   RJN Ex. 2, at 5. Unsubstantiated speculation does not establish a pervasive issue with pouches.
     Robie v. Trader Joe’s Co., No. 20-CV-07355-JSW, 2021 WL 2548960, at *5-6 (N.D. Cal. June 14,
27   2021). The article also mentions that “pediatric feeding experts…said that there’s nothing wrong
     with giving your kids pouches from time to time” and recognizes their benefits, including
28
     convenience and better nutrition than other packaged snacks. RJN Ex. 2 at 3-4, 7.
                                                     -5-
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 1   “statement of the corrected amount of protein per serving,” or “PDCAAS,”4 “calculated as a

 2   percentage of the RDI or DRV for protein, as appropriate, and expressed as Percent of Daily Value,”

 3   must also appear on the Nutrition Facts Panel (“NFP”). Id. Plaintiffs allege the claim “2 grams of

 4   Plant Protein” is false because “the PDCAAS of the plant proteins in the Products is low.” SAC

 5   ¶ 63. Plaintiffs base this allegation on the PDCAAS-based Percent of Daily Value of “10-11%” in

 6   the Nutrition Facts Panel (“NFP”), which, they contend, shows the Products “only provide 1.3-1.4

 7   grams of protein.” Id.

 8            In Nacarino, the Ninth Circuit affirmed this Court’s holding that claims challenging a

 9   protein quantity claim validated “using a method approved by [FDA]” were preempted. 77 F.4th

10   at 1203. There, the plaintiffs alleged labeling using the nitrogen method was “misleading because

11   the ‘amount of digestible or usable protein the [p]roducts actually deliver[ed] to the human body

12   [was] even lower’ than the actual amount of protein the products contain[ed]” based on the

13   PDCAAS value. Id. at 1207. The Ninth Circuit affirmed dismissal because FDA regulations

14   authorize manufacturers to express protein quantity outside the NFP using the nitrogen method if

15   they include the PDCAAS “as a percent daily value in the NFP.” Id. at 1209-10. “[S]ustaining

16   Plaintiffs’ challenge to Defendants’ protein claims” thus “would indirectly establish a requirement

17   for food labeling that differs from the federal requirements.” Id. at 1214.

18            The same reasoning applies here. Plaintiffs admit Gerber expressed the Percent of Daily

19   Value on the NFP using PDCAAS. See SAC ¶ 63. That is all FDA regulations require. Plaintiffs’

20   claims based on understated protein thus are preempted, as they would use state law to require

21   expression of protein content in a way that differs from federal requirements. See Nacarino, 77

22   F.4th at 1212. Even if not preempted, “a product’s quantitative protein claims based on uncorrected

23   values calculated using the nitrogen method are not false or misleading within the meaning of the

24   regulations when PDCAAS-corrected percent daily value is included in the NFP.” Id. at 1213.

25            For these reasons, Plaintiffs’ fraud-based claims based on allegedly overstated protein

26   quantity are preempted, or, alternatively, fail to state a claim.

27
     4
28    “PDCAAS” stands for “protein digestibility-corrected amino acid score” which is “a measure of
     protein quality.” Nacarino v. Kashi Co., 77 F.4th 1201, 1205 (9th Cir. 2023).
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                                The Label Statements Are Unlikely to Deceive a Reasonable Consumer
 1
              Plaintiffs also do not allege a nexus between the label claims and harms purportedly caused
 2
     by the Products’ sugar and sodium content, texture, and packaging. Plaintiffs implicitly allege
 3
     reasonable consumers view claims like “2g Protein” or “2g of wholegrains per serving” and expect
 4
     the Products to contain only healthy ingredients and only positively impact a child’s development.
 5
     But “[j]ust because a defendant truthfully advertises one of its product’s health benefits does not
 6
     mean that it has committed fraud or deceived consumers as to all other conceivable unhealthy
 7
     consequences that were not disclosed.” Sanchez, 2023 WL 6391487, at *6.5 Thus, as Judge Davila
 8
     observed in dismissing nearly identical fraud claims, “many courts in this district have rejected
 9
     theories of fraud where plaintiffs alleged the presence of added sugars rendered a general health-
10
     related claim fraudulent.” Id. at *7 (collecting cases). “[E]ven if the Products’ sugar content and
11
     pouch-related concerns could result in deleterious effects”—which Plaintiffs fail to allege—the
12
     SAC “does not allege that those effects would vitiate, negate, or even relate to the” benefits offered
13
     by the Products’ other nutritional characteristics and ingredients. See id.
14
                                Plaintiffs Cannot Rely on Allegations of a Bare Procedural Violation to
15                              Meet Their Burden Under the Reasonable Consumer Standard
16            Plaintiffs do not plausibly allege the labels would mislead a reasonable consumer.6 That

17   leaves allegations of bare procedural violations, which, alone, do not state a fraud claim. Howard

18   v. Gerber Prod. Co., No. 22-CV-04779-VC, 2023 WL 2716583, at *3 (N.D. Cal. Mar. 29, 2023).

19            B.          Plaintiffs’ UCL and FAL Claims Should Be Dismissed Because They Have an
                          Adequate Legal Remedy and Lack Standing to Seek Injunctive Relief
20
              Under the UCL, “[p]revailing plaintiffs are generally limited to injunctive relief and
21
     restitution.” Cel-Tech Commc’ns, Inc. v. Los Angeles Cellular Tel. Co., 20 Cal. 4th 163, 179
22
     (1999). That is because “[t]he UCL balances relaxed liability standards with limits on liability.”
23

24   5
       Accord Figy v. Frito-Lay N. Am., Inc., 67 F. Supp. 3d 1075, 1091 (N.D. Cal. 2014) (it is “utterly
     implausible” that “reasonable consumers would see an undisputedly true statement about [one
25   ingredient] and then draw conclusions about other totally unrelated nutritional characteristics . . .
     or conclude the Products ‘made only positive contributions to a diet’”).
26   6
       It is unclear whether Plaintiffs intend to bring omission-based misrepresentation claims. The SAC
27   references “omissions,” but Plaintiffs do not allege Gerber omitted anything from its labels, or facts
     to support an omission-based claim. SAC ¶¶ 9, 86, 101, 103, 124. Plaintiffs have not shown any
28   alleged omission is “contrary to a representation actually made by” Gerber or omitted a fact Gerber
     was obliged to disclose. Wilson v. Hewlett-Packard Co., 668 F.3d 1136, 1141 (9th Cir. 2012).
                                                        -7-
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 1   In re Vioxx Class Cases, 180 Cal. App. 4th 116, 130 (2009). The same is true of the FAL. Id.

 2            Plaintiffs cannot seek restitution or injunctive relief because they have an adequate remedy

 3   at law. Sonner v. Premier Nutrition Corp., 971 F.3d 834, 844 (9th Cir. 2020). They allege “only

 4   hypothetically” that they lack an adequate legal remedy because they may not prevail on other

 5   claims, SAC ¶¶ 134, 157, and, for their UCL “unfair” and “unlawful” claims, because there is no

 6   such action at law. Id. ¶ 156. These arguments are “unavailing. Where the claims pleaded by a

 7   plaintiff may entitle her to an adequate remedy at law, equitable relief is unavailable.” Rhynes v.

 8   Stryker Corp., No. 10-5619 SC, 2011 WL 2149095, at *4 (N.D. Cal. May 31, 2011).

 9             Plaintiffs cannot distinguish their UCL “unlawful” and “unfair” prong claims from their

10   fraud-based claims because they rely on the same factual allegations and advance the same theory:

11   that the Products bore misleading label claims. Indeed, in a case involving essentially the same

12   claims brought by the same law firm and one of the same plaintiffs, this Court held “the plaintiffs’

13   unlawful-prong claim is [] substantively similar to their fraud claims.” Howard v. Hain Celestial

14   Grp., Inc. (“Hain I”), No. 22-CV-00527-VC, 2024 WL 718180, at *1 (N.D. Cal. Feb. 22, 2024).

15   Here, as in Hain I, Plaintiffs’ claims “are all rooted in the same allegations.” Hanscom v. Reynolds

16   Consumer Prod. LLC, No. 21-CV-03434-JSW, 2022 WL 591466, at *3 (N.D. Cal. Jan. 21, 2022).

17            Hanscom also is analogous.        In Hanscom, Judge White held the plaintiff’s similar

18   allegations that she may be “unable to prove certain elements of [her] claims” for damages did “not

19   establish that the damages she seeks are necessarily inadequate or incomplete.” Id. There, as here,

20   the plaintiff sought “the same amount”—the price premium—in damages and restitution. Id. And

21   like Plaintiffs, the plaintiff in Hanscom alleged she only “lost money or property.” Id. The plaintiff

22   thus “fail[ed] to satisfy Sonner’s requirement that she plead she lack[ed] an adequate legal remedy

23   with respect to” her restitution claims.             Id.; accord Hanna v. Walmart Inc., No.

24   520CV01075MCSSHK, 2020 WL 7345680, at *6 (C.D. Cal. Nov. 4, 2020) (no equitable relief

25   where plaintiff did not “explain why no adequate remedy at law exists for [their] injury.”).

26            Plaintiffs also are not entitled to injunctive relief, because they do not plausibly allege “an

27   actionable certainly impending injury.” Hanna, 2020 WL 7345680, at *7 (cleaned up; emphasis

28   in original). First, no Plaintiff alleges he or she still buys Products for children under two. “[T]hose
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 1   who bought the products for children two and up” cannot be injured by alleged label claims. Hain

 2   I, 2024 WL 718180, at *1. Second, Plaintiffs’ allegations that they “would likely” purchase Gerber

 3   Products in the future, SAC ¶¶ 97, 103, 109, allege only a “possible future injury,” not an

 4   “actionable certainly impending injury.” Hanna, 2020 WL 7345680, at *7 (cleaned up; emphasis

 5   in original); accord Lanovaz v. Twinings N. Am., Inc., 726 F. App’x 590, 591 (9th Cir. 2018) (no

 6   Article III standing where plaintiff alleged she “would ‘consider buying’” products in the future).

 7            Third, allegations that Plaintiffs desire to purchase the Products again are implausible.

 8   Plaintiffs “ha[ve] not alleged any underlying belief in the utility” or healthiness of the Products.

 9   Hanscom, 2022 WL 591466, at *5. Indeed, they allege the Products are inherently “harmful both

10   nutritionally and developmentally for children under two.” SAC ¶ 3. That is analogous to

11   Hanscom, where the plaintiffs brought UCL claims that trash bags were misleadingly labeled

12   “Recycling” because “recyclables…should be placed in a collection bin without the use of a plastic

13   bag or liner.” Hanscom, 2022 WL 591466, at *5 (cleaned up; emphasis in original). The court

14   held it was “implausible that Plaintiff would wish to purchase Reynolds’ recycling bags in the

15   future in light of her allegations that recycling bags in general add no benefit….” Id.

16            Here too, it is implausible that if Gerber simply removes the disputed label claims, Plaintiffs

17   will wish to purchase Products they allege are “nutritionally and developmentally harmful.” See

18   id.7 Plaintiffs also do not allege they would purchase the Products if they were reformulated, and

19   regardless, allegations “wholly contingent on a reformation of the Product” are “too conjectural or

20   hypothetical to establish Article III standing.” Grausz v. Kroger Co., No. 19-cv-00449-TWR-AGS,

21   2021 WL 5534706, at *6 (S.D. Cal. Jan. 22, 2021). Plaintiffs also seek “lost money”— a price

22   premium—“for which legal damages does seem to be adequate.” Adams v. Haan, No. Sacv 20-

23   913 JVS, 2020 WL 5648605, at *3 (C.D. Cal. Sept. 3, 2020).

24

25   7
       Accord Anthony v. Pharmavite, No. 18-CV-02636-EMC, 2019 WL 109446, at *5 (N.D. Cal. Jan.
26   4, 2019) (no standing for injunctive relief where the “import of Plaintiffs’ allegations” was the
     defendant could not “alter its advertising” to make its product “beneficial to Plaintiffs”); Robles v.
27   Gojo Indus., Inc., No. SACV21928JVSDFMX, 2022 WL 2163846, at *5 (C.D. Cal. Mar. 16, 2022),
     aff’d, No. 22-55627, 2023 WL 4946601 (9th Cir. Aug. 3, 2023) (no standing for injunctive relief
28   where it was not “theoretically…possible, based on the facts alleged by the plaintiff, to formulate
     the product that they were allegedly misled into purchasing” so it is not purportedly harmful).
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 1            C.          Plaintiffs’ UCL “Unlawful” Prong Claim Fails

 2            Plaintiffs’ UCL “unlawful” prong claim also should be dismissed because it is preempted,

 3   or, in the alternative, to the extent it is based on lawful label statements. Loder v. World Sav. Bank,

 4   N.A., No. C11-00053 TEH, 2011 WL 1884733, at *6-7 (N.D. Cal. May 18, 2011).

 5                              Plaintiffs’ UCL “Unlawful” Claim Is Impliedly Preempted

 6            Plaintiffs improperly seek to enforce an FDA regulation, specifically 21 C.F.R.

 7   § 101.13(b)(3), through the guise of a false advertising lawsuit. However, the Food, Drug, and

 8   Cosmetic Act (“FDCA”) may be enforced only by the United States. 21 U.S.C. § 337(a). Because

 9   California’s Sherman Law expressly adopted and “originates from, is governed by, and terminates

10   according to” the FDCA, a Sherman Law violation requires finding the FDCA has been violated.

11   Stengel v. Medtronic, Inc., 704 F.3d 1224, 1230 (9th Cir. 2013); Cal. Health & Safety Code §

12   110100(a). The Supreme Court in Buckman v. Plaintiffs’ Legal Committee held a private plaintiff

13   cannot bring claims that “exist solely by virtue of the FDCA.” 531 U.S. 341, 352-3 (2001); accord

14   Nexus Pharms., Inc. v. Cent. Admixture Pharmacy Servs., Inc., 48 F.4th 1040, 1049 (9th Cir. 2022)

15   (Sherman Law claim preempted where “[t]he purported state law violation is of a law that says in

16   substance ‘comply with the FDCA’”). Buckman and its progeny thus preempt Plaintiffs’ UCL

17   “unlawful” claim, which relies on technical FDCA violations and does not “rely[] on traditional

18   state tort law which had predated the federal enactments in question.” Buckman, 531 U.S. at 353.8
                                Plaintiffs’ UCL “Unlawful” Prong Claim Also Fails to the Extent it is
19
                                Premised on Lawful Label Statements
20            Should the Court find Plaintiffs’ UCL “unlawful” prong claim is not preempted, Plaintiffs
21   still improperly base their claim on lawful label statements that do not violate 21 C.F.R. § 101.13.
22                              a.     Some Challenged Claims Are Not Nutrient Content Claims
23            This Court previously held “‘made with’ statements are not nutrient claims” because they
24   are “intended to highlight an ingredient ‘perceived to add value to the product,’” and dismissed
25

26   8
       This Court denied Gerber’s prior motion on this basis, and the Ninth Circuit recently held
     analogous claims were not preempted. Davidson, 106 F.4th at 852. Gerber respectfully submits,
27   as Judge Collins articulated in his dissent, that holding “wrongly equates the scope of the FDCA’s
     express preemption with the scope of its implied preemption” and cannot be reconciled with earlier
28   Ninth Circuit precedent. Id. at 854-866. Gerber thus preserves its argument on that ground.
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 1   Plaintiff Howard’s “unlawful” claim “to the extent that it is premised on these statements.”

 2   Howard, 2023 WL 2716583, at *2. Plaintiffs reassert claims based on “made with” statements, see

 3   SAC Ex. A, which should be dismissed again for the same reasons.

 4            The same reasoning applies to claims referencing ingredients (e.g., “¼ cup of farm-grown

 5   veggies,” “9 grams of whole grains per serving,” “Gerber Natural for Toddlers brings the goodness

 6   of naturally nutritious fruits selected and made with strict quality standards just for toddlers”) or

 7   generic qualities (“Grow Strong,” “Wonderfoods awaken baby’s love for nutritious foods”). See

 8   SAC, Ex. A; SAC ¶¶ 40, 45, 46, 61, 81. These claims do not reference any of the nutrients defined

 9   in 21 C.F.R. § 101.9(c), and thus do not suggest “the level (or range) of a nutrient” or “a nutrient is

10   absent or present in a certain amount.” 21 C.F.R. § 101.13(b)(1). They also are not “made in

11   association with an explicit claim or statement about a nutrient.” 21 C.F.R. § 101.13(b)(2). FDA

12   guidance clarifies that the word “nutritious” is not a nutrient content claim.9

13            This Court previously held “Grow Strong,” “Wonderfoods awaken toddler’s love for

14   nutritious foods,” and “Gerber Natural for Toddlers brings the goodness of naturally nutritious

15   fruits selected and made with strict quality standards just for toddlers” are implied nutrient content

16   claims because “Gerber makes these statements alongside explicit claims about the nutrients in

17   their products.” Howard, 2023 WL 2716583, at *2. Gerber respectfully submits that such a broad

18   reading is not supported by the regulatory text. The regulation offers “healthy, contains 3 grams

19   (g) of fat”—i.e., a claim specifically connected to a statement about a nutrient—as an example of

20   a claim “made in association with an explicit claim or statement about a nutrient.” Interpreting this

21   regulation, another district court held the statement “nutrition in every sip” was not an implied

22   nutrient content claim because it was not “made in connection with an explicit or implicit claim or

23   statement about a nutrient,” even though the very next sentence referenced calcium. Andrade-

24   Heymsfield v. Danone US, Inc., No. 19-CV-589-CAB-WVG, 2019 WL 3817948, at *1, 7 (S.D.

25   Cal. Aug. 14, 2019). The “Wonderfoods awaken toddler’s love for nutritious foods” claim and

26   “Grow Strong” branding are set off from the rest of the label with colored backgrounds and are not

27
     9
28     Guidance For Industry A Labeling Guide For Restaurants and Other Retail Establishments
     Selling Away-from-home Foods, 2008 WL 2155726, at *10.
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 1   connected to specific claims about nutrients. The same is true of the “Gerber Natural for Toddlers

 2   brings…” claim. It appears on the back label, while other challenged claims appear on the front.

 3   These are more like the “nutrition in every sip” claim in Andrade-Heymsfield than the “healthy,

 4   contains 3 grams of fat” example in the regulation. A broader reading would swallow up lawful

 5   label claims if a nutrient content claim is anywhere else on the package.

 6            Claims referencing quantities of ingredients (such as fruits, vegetables, wholegrains, and

 7   superfoods) are not nutrient content claims because they do not make any express or implied

 8   representations about nutrients, as opposed to ingredients. “[T]he regulations in question address

 9   statements about the set of nutrients a consumer sees in the Nutrition Facts panel, not any statements

10   about any ingredients whatsoever.” Clemmons v. Upfield US Inc., 667 F. Supp. 3d 5, 15 (S.D.N.Y.

11   2023) (interpreting 21 C.F.R. §§ 101.9, 101.13(b), 101.65). Plaintiffs do not allege how statements

12   like “1 serving of fruit” or “1 serving of superfoods” “impl[y] the presence of a certain amount of

13   any label nutrient,” or “what nutrient, express or implied, would be implicated in labeling a

14   product” as such. Id. These statements are lawful “valued ingredient” statements permitted under

15   21 C.F.R. § 101.65(b)(3), and not nutrient content claims under 21 C.F.R. § 101.13(b). See id.

16            Therefore, these claims cannot be the basis for Plaintiffs’ UCL “unlawful” prong claim.

17                              b.     Claims Including the Percentage of a Vitamin Are Lawful

18            Plaintiffs challenge claims expressly authorized on products intended for children under

19   two: “10% DV of Vit C, 15% Vit E and 20% Iron to help support a healthy IMMUNE SYSTEM,”

20   “20% DV Iron to help support healthy BRAIN DEVELOPMENT,” and “Supports toddler’s healthy

21   growth with 15% DV of calcium and 2g protein.” SAC, Ex. A at Nos. 34, 35, 37, 38. These are

22   permissible structural claims that refer to the nutrient (Vitamin C, Vitamin E, iron, calcium), not

23   the product.         See 21 C.F.R. § 101.93(f) (authorizing claims that “describe the role of the

24   nutrient…intended to affect normal structure or function in humans” or “characterize the means by

25   which a nutrient…acts to maintain such structure or function”); Sanchez v. Nurture, Inc., 626 F.

26   Supp. 3d 1107, 1118 (N.D. Cal. 2022) (holding “With iron to help support brain development” is a

27   structural claim that “describe[s] the function of the nutrient, not the product itself”).

28            This Court previously denied Gerber’s motion to dismiss on this ground, holding the claims
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 1   “go[] far beyond what the FDA has authorized by regulation,” and the regulation governing

 2   “structure/function” claims “applies only to dietary supplements.” Howard, 2023 WL 2716583, at

 3   *2 and n.2. But as another district court recognized “[t]he FDA interprets structure/function claims,

 4   and health claims, consistently across dietary supplements and conventional foods.” Andrade-

 5   Heymsfield, 2019 WL 3817948, at *6 (interpreting 65 Fed. Reg. 1000, 1034 and dismissing claim

 6   that “Maximum Calcium Absorption” label on coconut milk was an unlawful health claim).

 7             D.         Plaintiffs Lack Standing for Claims Based on Statements They Did Not Rely
                          On and Products They Did Not Purchase
 8
               Plaintiffs lack standing to assert claims based on many Products in the SAC.10 For Article
 9
     III and statutory standing, Plaintiffs must “plead and prove actual reliance” on the allegedly
10
     deceptive statement. In re Tobacco II Cases, 207 P.3d 20, 40 (Cal. 2009). Courts thus hold a party
11
     “does not have standing to challenge statements or advertisements that she never saw,” see, e.g.,
12
     Ham v. Hain Celestial Grp., Inc., 70 F. Supp. 3d 1188, 1197 (N.D. Cal. 2014), or did not rely on,
13
     Durell v. Sharp Healthcare, 183 Cal. App. 4th 1350, 1363 (2010); see also Howard v. Hain
14
     Celestial Grp., Inc. (“Hain II”), No. 22-CV-00527-VC, 2024 WL 4369648, at *3 (N.D. Cal. Oct.
15
     1, 2024) (Chhabria, J.) (“unlawful-prong claims require a showing of reliance on the aspects of a
16
     label that make it unlawful”). Plaintiffs also may only plead claims based on unpurchased products
17
     that are “substantially similar” to Products they did purchase. Wilson v. Frito-Lay N. Am., 961 F.
18
     Supp. 2d 1134, 1140-41 (N.D. Cal. 2013).
19
               Plaintiffs seek to represent a class who purchased a “non-exhaustive list” of Gerber
20
     products. SAC ¶ 14. But Rule 9(b) requires Plaintiffs to plead the content of labels and kinds of
21
     products they dispute. See, e.g., Gitson v. Trader Joe’s Co., No. 13-CV-01333-WHO, 2013 WL
22
     5513711, at *4 (N.D. Cal. Oct. 4, 2013). Plaintiffs thus may proceed only on products and claims
23
     they specifically allege.
24
               Plaintiffs collectively allege relying on only three protein-related statements: “2g protein,”
25
     “2 grams of Plant Protein,” and “Nutritious, plant-based, and specially designed to provide 2 grams
26
     of protein” on three Products. See SAC ¶¶ 93, 99, 105, Ex. A. Plaintiffs challenge many non-
27

28   10
          SAC Exhibit A lists the disputed products. The second column identifies challenged statements.
                                                     - 13 -
                                                                          GERBER’S MOTION TO DISMISS;
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 1   protein claims (including seven new claims in their SAC) about vegetables, fruit, whole grains,

 2   superfoods, fiber, Vitamins C and E, iron, and calcium, and claims not concerning any ingredient

 3   or food group at all (e.g., “Grow Strong”), but do not specifically allege they relied on any of those

 4   statements. See id. Plaintiffs’ generic allegation they “read[] the nutrient content claims on the

 5   Product labels,” SAC ¶¶ 93, 99, 105, is insufficient. Rule 9(b) requires them to “unambiguously

 6   specify…the particular statements” they “allegedly relied on when making [their] purchases.” See

 7   Maxwell v. Unilever U.S., Inc., No. 5:12–CV–01736–EJD, 2013 WL 1435232, at *5 (N.D. Cal.

 8   Apr. 9, 2013); accord Hain II, 2024 WL 4369648, at *3 (“plaintiffs bringing unlawful-prong claims

 9   must still show reliance—not just on the label as a whole, but on the aspects of the label that make

10   it unlawful”). Plaintiffs thus cannot assert claims based on products without protein statements.11

11            Plaintiffs also lack standing to assert claims based on unpurchased products from unrelated

12   lines. Plaintiffs must specifically allege the unpurchased products are of the same kind and

13   comprised of largely the same ingredients as products they purchased, and had the same labeling

14   they allegedly relied on in products they purchased. See Wilson, 961 F. Supp. 2d at 1140-41; accord

15   Sanchez, 626 F. Supp. 3d at 1117 (no standing for products with “different ingredients from the

16   purchased products”). Plaintiffs challenge 33 products from five lines from which they purchased

17   no products: Veggie Power, Pick Ups, Lil’ Sticks, Mealtime Harvest Bowl, and Grain & Grow.

18   See SAC ¶¶ 91 [sic], 75 [sic], 76 [sic] (alleging purchases from Mealtime for Toddler, Pouches,

19   Lil’ Crunchies, Wonderfoods, and Natural lines). They do not, and cannot, allege products in these

20   lines are comparable to those they purchased. See Sanchez, 626 F. Supp. 3d 1107, 1116-17.

21            In previously allowing Plaintiff Howard to assert claims for unpurchased products, this

22   Court cited Miller v. Ghirardelli Chocolate Co., 912 F. Supp. 2d 861 (N.D. Cal. 2012) and Kellman

23   v. Whole Foods Market, Inc., 313 F. Supp. 3d 1031 (N.D. Cal. 2018). Howard, 2023 WL 2716583,

24   at *1. In Miller, the plaintiff lacked standing to sue on unpurchased products because he did not

25   allege facts showing “the same basic mislabeling practice across different product flavors,” and the

26   unpurchased products “look[ed] different,” were “labeled differently,” and had different

27
     11
28     Specifically, Plaintiffs lack standing to assert claims based on products numbered as 5, 7-9, 12-
     17, 19-20, 32-33, 36, 39, 47, and 49-52 in Exhibit A to Plaintiffs’ SAC.
                                                     - 14 -
                                                                        GERBER’S MOTION TO DISMISS;
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 1   ingredients and flavors from purchased ones. Miller, 912 F. Supp. 2d at 870. The same is true

 2   here. With respect to Kellman, Gerber respectfully submits that the case is distinguishable, as it

 3   involved purchased and unpurchased hygiene products that “share[d] common ingredients” and the

 4   same “hypoallergenic” claim. 313 F. Supp. at 1054. Here, the unpurchased products materially

 5   vary from the purchased ones, with different ingredients, textures, flavors, labels, and packaging.12

 6            The labels also differ in type, location, text, font, size, and claims, requiring individualized

 7   fact-specific analyses to determine whether reasonable consumers would be misled. In such cases,

 8   courts have held plaintiffs may only pursue claims based on products with “identical labels” to

 9   those they purchased. See, e.g., Ang v. Bimbo Bakeries USA, Inc., No. 13-CV-01196-WHO, 2014

10   WL 1024182, at *9 (N.D. Cal. Mar. 13, 2014) (no standing for non-purchased products where claim

11   placement and product types required “fact-specific analyses”).

12            For these reasons, Plaintiffs cannot base claims on unrelated, unpurchased products.13

13            E.          Plaintiffs’ UCL “Unfair” Prong and Unjust Enrichment Claims Fail

14            Plaintiffs’ UCL “unfair” prong claim fails because it “overlaps entirely” with Plaintiffs’

15   invalid fraud claims. See, e.g., Hauck v. Advanced Micro Devices, Inc., No. 18-CV-00447-LHK,

16   2019 WL 1493356, at *15 (N.D. Cal. Apr. 4, 2019) (UCL “unfair” prong claim premised on the

17   same allegedly fraudulent omissions as fraud claims cannot survive). Plaintiffs’ unjust enrichment

18   claim fails for the same reason. See Garrison v. Whole Foods Mkt. Grp., Inc., No. 13-CV-05222-

19   VC, 2014 WL 2451290, at *6 (N.D. Cal. June 2, 2014) (Chhabria, J.).

20            CONCLUSION

21            Gerber respectfully requests the Court grant its motion to dismiss.

22   Dated: October 8, 2024                               WHITE & CASE LLP
23                                                        By:    /s/ Bryan A. Merryman
                                                                Bryan A. Merryman
24

25   12
        Compare, e.g., SAC, Ex. A, Rows 32 (unpurchased “Mealtime Harvest Bowl Spanish-Style
     Sofrito” with grains and vegetables, in plastic bowl, with no protein claim) and 43 (unpurchased
26   “Lil’ Sticks Chicken” with chicken sticks, in a glass jar) with Rows 1 (purchased “Organic for
     Toddler Plant-tastic Banana Berry & Veggie Smash” puree pouch with no vegetable or meat) and
27   45 (purchased “Lil’ Crunchies Veggie Dip” baked grain snacks with zero sugar, in re-closable
     cylindrical container).
28   13
        Products numbered as 5, 7-9, 12-17, 19-20, 32-33, 36, 39, 47, and 49-52 in SAC Exhibit A.
                                                    - 15 -
                                                                          GERBER’S MOTION TO DISMISS;
     AMERICAS 117949192                                                   Case No. 3:22-cv-04779-VC
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                                      CERTIFICATE OF SERVICE
 1

 2            I hereby certify that a true and correct copy of the foregoing document was filed in the

 3   Court’s CM/ECF System this 8th day of October, 2024, and thereby served on all counsel of record.

 4                                                                /s/ Bryan A. Merryman
 5                                                                  Bryan A. Merryman

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                                                                     GERBER’S MOTION TO DISMISS;
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